08-12667-mkv     Doc 165     Filed 09/07/18     Entered 09/07/18 12:18:36       Main Document
                                              Pg 1 of 3


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                                                                           September 7, 2018


           Re:     In re Bagbag, Case No. 08-12667-mkv

    Dear Judge Vyskocil:

    A hearing on the above–referenced Debtor’s Motion to Approve the entry of an Order:
    (1) declaring the Order entered against the Debtor in an action captioned Alcobi v.
    Bagbag, Index No. 654572/2016, Supreme Court of the State of New York (the “State
    Court Action”) void ab initio; (2) declaring the Payment, Settlement Agreement between
    the Debtor and Asher Alcobi (“Alcobi”) void and unenforceable; (3) clarifying the Order
    of Discharge to declare the Alcobi claim discharged as a matter of law and enforcing the
    discharge injunction to discontinue the State Court Action with prejudice; and (4)
    declaring the transfer agreement by and between Jackie Lewis (as guardian for Emily
    Sarah Lewis (“Emily”)), Alcobi and Hillitt Meidar Alfi for Emily’s interest in 122 Street
    Slash, LLC void [Doc. No. 160] is scheduled for Thursday, September 13, 2018 at 11:00
    a.m.

    Earlier this week, the Debtor learned that Jackie Lewis, his ex–wife and mother of his
    children, had suffered a recurrence of her cancer. Ms. Lewis lives in Israel, and her
    major surgery is scheduled for Thursday, September 13, the same day as the hearing. The
    Debtor and Ms. Lewis’ children want the Debtor to be there, as there is a possibility that
    Ms. Lewis may not survive the surgery.

    We have explained the situation to Ethan Ganc, Esq., counsel to Alcobi, who informed
    our office on September 6, 2018 that Alcobi does not consent to an adjournment of the
    hearing. Please see the email from Mr. Ganc attached hereto as Exhibit A. Therefore, we
    are asking for your Honor’s consent to adjourn the hearing to a date mutually acceptable
    to both the Debtor and Alcobi. Thank you for your consideration of the Debtor’s urgent
    request for an adjournment to be with his family through their health crisis.

                                                 Sincerely,

                                                 /s/ James H. Shenwick
                                                 James H. Shenwick


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08-12667-mkv   Doc 165   Filed 09/07/18     Entered 09/07/18 12:18:36   Main Document
                                          Pg 2 of 3
      08-12667-mkv          Doc 165       Filed 09/07/18     Entered 09/07/18 12:18:36         Main Document
                                                           Pg 3 of 3

Douglas Greene

From:                                Ethan Ganc <ethan@ethanganclegal.com>
Sent:                                Thursday, September 06, 2018 5:27 PM
To:                                  'Douglas Greene'
Cc:                                  'James H. Shenwick'
Subject:                             RE: 9/13 hearing in re Bagbag


Dear Douglas:

I have spoken to my client. He does not consent to an adjournment of the hearing. Thank you.

Sincerely yours,

-----
Ethan D. Ganc, Esq.
Law Office of Ethan Ganc
99 Madison Avenue, Suite 5009
New York, NY 10016
ethan@ethanganclegal.com
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attachments. Thank you.




From: Douglas Greene <douglasgreene3@gmail.com>
Sent: Thursday, September 6, 2018 1:06 PM
To: ethan@ethanganclegal.com
Cc: James H. Shenwick <jshenwick@gmail.com>
Subject: 9/13 hearing in re Bagbag

Dear Mr. Ganc:

To follow-up on my voice mail this morning, Mr. Bagbag’s ex-wife and mother of his children, who lives in Israel, Is
severely ill and the family wants to go to Israel to see her. Will you consent to an adjournment of next Thursday’s
hearing? Please advise at your earliest convenience. Thank you!

Douglas Greene
Senior Paralegal
Shenwick & Associates
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